                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                    3:07-Cr-00173


UNITED STATES OF AMERICA,                     )
                                              )
                              Plaintiff       )
                                              )
               v.                             )                 ORDER
                                              )
ANTHONY GEORGE YOUNG,                         )
                                              )
                              Defendant       )

       Defendant Anthony George Young moves the Court for a recommendation for re-

designation to a Bureau of Prisons facility closer to his home (Doc. No. 181). While this Court

at sentencing routinely makes a recommendation to the Bureau of Prisons for a place of initial

designation, this Court has never made a post-sentencing recommendation for a place of re-

designation. The Court lacks the knowledge and ability to assess the complex issues arising

from providing for housing and medical services to the approximately 220,000 inmates currently

in the custody of the Bureau of Prisons. These issues are best left to the administrative

authorities within the Bureau of Prisons. Thus the motion for a recommendation for re-

designation is DENIED.

                                                  Signed: May 28, 2010




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